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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 PAUL ZWIER,                                :
                                            :
            Plaintiff,                      :
                                            :
     v.                                     :          Civil Action File No.
                                            :
 EMORY UNIVERSITY and                       :       1:20-cv-03265-MHC-RDC
 JAMES B. HUGHES, JR.,                      :
                                            :
            Defendants.                     :

                          RULE 26(A)(1) INITIAL DISCLOSURES

1.         State precisely the classification of the cause of action being filed, a brief
           factual outline of the case, including plaintiff's contentions as to what
           defendant did or failed to do, and a succinct statement of the legal issues
           in the case.
           This is a single-plaintiff case brought by Paul Zwier (“Zwier”) against his

employer, Emory University (“Emory”), and James B. Hughes, Jr. (“Hughes”), a

professor at Emory’s School of Law (“Law School”) who served as Interim Dean of

the Law School during most of the events in question. The Complaint alleges four

counts: (1) alleged race discrimination in violation of 42 U.S.C. § 1981 against

Emory and Hughes; (2) alleged retaliation in violation of 42 U.S.C. § 1981 against

Emory and Hughes; (3) alleged breach of contract against Emory; and (4) alleged

libel per se against Hughes.



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      Zwier is a tenured professor at the Law School and has been at the Law School

since 2003. On November 12, 2018, Defendants placed Zwier on administrative

leave pending an investigation being conducted by the Emory Office of Equity and

Inclusion (“OEI”), removed him from all teaching duties, and excluded Zwier from

coming to the Law School facilities, including Zwier’s office. The Law School

claimed this punishment was based on two incidents.

      The first incident occurred on August 23, 2018 and involved a report that

Zwier had use the word “n***gr” while teaching a first-year torts class involving the

case of Fisher v. Carrousel Motor Hotel, Inc., 424 S.W.2d 627 (Tex. 1967). It was

reported that Zwier had used the word instead of the word “negro” when discussing

how the words could impact the underlying tort claim. On August 24, 2018, Zwier

issued an apology to his first-year torts class and members of the Black Law School

Student Association who chose to attend, and he issued a subsequent written apology

to the Law School community at large on September 9, 2018.

      In addition to the public apologies, Defendants prohibited Zwier from

teaching first-year classes for two years, required his participation in bias training,

and required him to agree to revise his teaching manual. To resolve the matter, Zwier

agreed to take these steps.

      Then on October 31, 2018, Justin Tolston, a Black student pursuing his

L.M.M. or Master of Law at the Law School, requested a meeting with Zwier in his


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office and Zwier accepted. Tolston had never been enrolled in Zwier’s classes at the

Law School. During their October 31, 2018 meeting, Tolston accused Zwier of

having a racist family upbringing and being an innate racist. Tolston repeatedly used

the word “n***er” in making his accusations throughout the meeting with Zwier.

Zwier responded by relating his upbringing in a family where racism was actively

combatted by his parents and further shared an anecdote that other white people in

his past had accused Zwier of being a “n***er-lover” because of his publicly

espoused views on racial equality. Tolston then attempted to use Zwier’s statement

to blackmail him into writing an op-ed piece in the Washington Times, which Zwier

refused. Tolston had made similar threats to other faculty, including Defendant

Hughes. Zwier reported the incident to Hughes. Tolston and another student

actively spread misinformation about the incident through the Law School.

Immediately following both incidents described above, Hughes issued statements to

the Emory University community at large and beyond that Zwier contends

mischaracterized the incidents and constituted libel per se.

      Defendants then placed Zwier on administrative leave pending the outcome

of the OEI investigation referenced above. Zwier contends Defendants treated him

far more harshly than they treated other professors under similar circumstances. The

OEI investigation concluded on December 18, 2018 and recommended only a

suspension of an undetermined length. Defendants kept Zwier on administrative


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leave through the end of the 2018-2019 school year, maintaining his exclusion from

the Law School entirely. In May 2019, after approximately six months of uncertain

and indefinite leave, Zwier reached out to the Emory Faculty Hearing Committee

Chair (“FHC”) and complained that he was being treated differently by Emory and

Hughes because of his race. The FHC is a body of five Emory University faculty

members who hear, deliberate and make recommendations regarding discipline and

termination of tenured faculty.

      In response to Zwier’s contact with the FHC, on June 10, 2019, Defendant

Hughes sent a letter to the Chair of the FHC at Emory announcing his decision to

terminate Professor Zwier’s tenured employment and asking the FHC to uphold that

decision. Zwier contends Hughes’ actions constituted retaliation under § 1981

against Zwier. The FHC held a full evidentiary hearing on October 4, 2019 over

whether Hughes had articulated sufficient grounds to terminate Zwier’s tenure.

After significant delay and administrative requests that violated Zwier’s contract

with Emory, the FHC issued its decision on January 27, 2020 and found that Hughes

and Emory failed to demonstrate adequate cause to revoke Zwier’s tenure and

reinstated him to teaching. Zwier returned to teaching in August 2020.




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2.    Describe in detail all statutes, codes, regulations, legal principles,
      standards and customs or usages, and illustrative case law which plaintiff
      contends are applicable to this action.
      Plaintiff identifies 42 U.S.C. § 1981 and case law interpreting 42 U.S.C. §

1981, as well as Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000, as

amended. Plaintiff also identifies, without limitation, St. Francis Coll. v. Al-

Khazraji, 481 U.S. 604 (1987); McDonald v. Santa Fe Trail Transportation Co., 427

U. S. 273, 285 (1976); Quigg v. Thomas Cty. Sch. Dist., 814 F.3d 1227, 1232–33

(11th Cir. 2016); Ferrill 1213 v. Parker Group, Inc., 168 F.3d 468, 472 (11th Cir.

1999); Richardson v. Leeds Police Dept., 71 F.3d 801, 805 (11th Cir. 1995); Turnes

v. AmSouth Bank, N.A., 36 F.3d 1057, 1060 (11th Cir. 1994); Howard v. BP Oil Co.,

Inc., 32 F.3d 520 (11th Cir. 1994); Lincoln v. Bd. of Regents of Univ. Sys. of Georgia,

697 F.2d 928, 938 (11th Cir. 1983); and Eastridge v. Rhode Island College, 996 F.

Supp. 161, 166 (D.R.I. 1998).


3.    Provide the name and, if known, the address and telephone number of
      each individual likely to have discoverable information that you may use
      to support your claims or defenses, unless solely for impeachment,
      identifying the subjects of the information. (Attach witness list to Initial
      Disclosures as Attachment A.)
             See Attachment A.




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4.    Provide the name of any person who may be used at trial to present
      evidence under Rules 702, 703, or 705 of the Federal Rules of Evidence.
      For all experts described in Fed.R.Civ.P. 26(a)(2)(B), provide a separate
      written report satisfying the provisions of that rule. (Attach expert
      witness list and written reports to Responses to Initial Disclosures as
      Attachment B.)

            None identified at this time.
5.    Provide a copy of, or a description by category and location of, all
      documents, data compilations or other electronically stored information,
      and tangible things in your possession, custody, or control that you may
      use to support your claims or defenses unless solely for impeachment,
      identifying the subjects of the information. (Attach document list and
      descriptions to Initial Disclosures as Attachment C.)
            See Attachment C.
6.    In the space provided below, provide a computation of any category of
      damages claimed by you. In addition, include a copy of, or describe by
      category and location of, the documents or other evidentiary material,
      not privileged or protected from disclosure, on which such computation
      is based, including materials bearing on the nature and extent of injuries
      suffered, making such documents or evidentiary material available for
      inspection and copying as under Fed.R.Civ.P. 34. (Attach any copies and
      descriptions to Initial Disclosures as Attachment D.)
            See Attachment D.

7.    Attach for inspection and copying as under Fed.R.Civ.P. 34 any
      insurance agreement under which any person carrying on an insurance
      business may be liable to satisfy part or all of a judgment which may be
      entered in this action or to indemnify or reimburse for payments made to
      satisfy the judgment. (Attach copy of insurance agreement to Initial
      Disclosures as Attachment E.)

            Not applicable.




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8.    Disclose the full name, address, and telephone number of all persons or
      legal entities that have a subrogation interest in the cause of action set
      forth in plaintiff's cause of action and state the basis and extent of such
      interest.

             None.

      Respectfully submitted: November 12, 2020.

                                                 /s/ M. Travis Foust
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                                                 M. Travis Foust
                                                 Georgia Bar No. 104996
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Counsel for Plaintiff




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Attachment A
Persons with Knowledge- All persons identified are current or former employees
or students of Defendant Emory University and Defendant is in possession of the
most current contact information for such individuals.

Name and Contact Details                    Areas of Knowledge
James B. Hughes, Jr.                        Knowledge of Plaintiff’s claims and
                                            Defendants’ defenses, including the
                                            decision to place Zwier on
                                            administrative leave and seek his
                                            termination.
Timothy Holbrook                            Knowledge of Plaintiff’s claims and
                                            Defendants’ defenses, including the
                                            decision to place Zwier on
                                            administrative leave and seek his
                                            termination.
Dwight McBride                              Knowledge of Plaintiff’s claims and
                                            Defendants’ defenses, including the
                                            decision to place Zwier on
                                            administrative leave and seek his
                                            termination.
Julie Seamen                                Knowledge of Plaintiff’s claims and
                                            Defendants’ defenses, as well as her
                                            testimony provided during the FHC
                                            proceedings.
Kay Levine                                  Knowledge of Plaintiff’s claims and
                                            Defendants’ defenses.
Claire E. Sterk                             Knowledge of Plaintiff’s claims and
                                            Defendants’ defenses, including the
                                            decision to place Zwier on
                                            administrative leave and seek his
                                            termination.
Katherine Brokaw                            Knowledge of Plaintiff’s claims and
                                            Defendants’ defenses.
Nichole ElMurr                              Knowledge of Plaintiff’s claims and
                                            Defendants’ defenses, as well as her
                                            testimony provided during the FHC
                                            proceedings.


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Lynell Cadray                           Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Susan Clark                             Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Karen Cooper                            Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Nancy Daspit                            Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
James Elliot                            Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Martha Feinman                          Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Margo Bagley                            Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Jennifer Romig                          Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Tom Arthur                              Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Ethan Rosenzweig                        Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
John Witte                              Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Kamina Pinder                           Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Dorothy Brown                           Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Hallie Ludsin                           Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
David F. Partlett                       Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
William Carney                          Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Paul Zwier                              Knowledge of Plaintiff’s claims and
                                        Defendants’ defenses.
Sasha Volokh                            Knowledge of freedom of expression
                                        practices at Emory University.
All members of the FHC committee        Knowledge of the FHC proceedings
who conducted the October 4, 2019       and Defendants’ efforts to terminate
FHC hearing regarding Defendant         Zwier’s tenure.

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Hughes’s request to terminate Zwier’s
tenure
All witnesses identified by Defendants




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Attachment C
Documents and ESI

 All e-mail and written communications among Defendants, as well as
 Defendant Emory University’s faculty and administration, regarding the events
 giving rise to Zwier’s suspension, leave, and attempted termination.
 Emory’s Office of Equity and Inclusion’s investigation report involving Zwier
 All exhibits submitted by Zwier in connection with his pre- and post-FHC
 hearing briefing
 All exhibits submitted by Defendants in connection with Zwier’s pre- and post-
 FHC hearing briefing
 Recording from Zwier’s office meeting with Ariana Peden
 Documents related to Justin Tolston’s arrest and legal practice post-graduation
 from Emory
 Zwier’s earnings records related to his consultant arrangements




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Attachment D

     Plaintiff seeks compensatory and punitive damages as allowed by law which

are not capped under 42 U.S.C. § 1981, as well as attorneys’ fees and costs of

litigation.   Plaintiff’s damages include, without limitation, lost income from

terminated consultancy arrangements in excess of $300,000 to date, as well as

attorneys’ fees and expenses incurred in pursuing the FHC hearing for Plaintiff’s

breach of contract claim $173,437.91.




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PAUL ZWIER,                            :
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       Plaintiff,                      :
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  v.                                   :          Civil Action File No.
                                       :
EMORY UNIVERSITY and                   :        1:20-cv-03265-MHC-RDC
JAMES B. HUGHES, JR.,                  :
                                       :
       Defendants.                     :

                         CERTIFICATE OF SERVICE

       I hereby certify that on November 12, 2020, I filed the foregoing

PLAINTIFF’S INITIAL DISCLOSURES with the Clerk of Court using the

CM/ECF which will automatically send notification of same to all counsel of record,

and by depositing a copy of the same in U.S. Mail with proper postage affixed

thereon to the following counsel of record:

                              Michael W. Johnston
                              Rebecca Cole Moore
                           KING & SPALDING LLP
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                             Atlanta, Georgia 30309
                             mjohnston@kslaw.com
                              rmoore@kslaw.com




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  Respectfully submitted: November 12, 2020.

                                      /s/ M. Travis Foust
                                      M. Travis Foust
                                      Georgia Bar No. 104996
                                      tfoust@pcwlawfirm.com




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